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  Illinois Pattern Jury Instructions-Civil -  55.01, 55.02 approved January 2015; 1.07 Instruction and Comment approved December 2012; Notes on Use approved February 2013
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